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MACONDO WELL INCIDEN?

Transocean investi gation Report
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Appendices 7

Appel nd Ces

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Apperiilix A. Abbreviaiiéns and Nerina

Appendix 5, Maconda Casing Caleta

Appendix C. Testing ol f Camenting Fe 10a

Appendix D. Centralization Plan ai Macbniis

Apoendia i. -heview of Macondo ii 7° x 0-7/5" Production © Dasing ¢ Cementation
Apoomkix F. Lock-Down Slagye Dancision

Apoendix G. Hydraudic Analys is-of Macon do #252. We Priot to incident of April 20, 2019
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Appendix’, BOP Maintenance Mistory

Appendix 3. BOP Testing

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Appendix i. Structural Anatysia cf the Macando #282 Work String

Appendix NM. AMP Testing

Appendix O. Analysis of Solenoid 10 S

Agar lx 2 Deepwater Horizon investigation. as Disners sian 8 Studies

Appendis G. Possible ignition Sourne

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Execuilve Summary 9

Executive Summary

‘Transccean was contracted by BRE Exploration & Prigduction | nc. (BP) to provide ne Deepwater Horizon vig a
personnel fo. cil ine Macomdo wellon Mi ississippt Canyan Block 252, Drilling started ot Feb. | ii, 20, and ae
compleisd on Apri 4, 2016..

On April 20, 2070, the blowout of the Macando well resulied in explosioris and an ungontrolla a fre onbesrd
ihe Deepwater Horizon, Eleven people iost ihely ives, y were seriously injured, and 115 ofthe 1z6.onboard
evactiated, The Deepwater Horizon sank 36 hours taker, and ihe: Wiscoode well discharged hydrocer tons: inio
the Gui of Mexico for fisanly three aon betors, i was contained,

Ro lowinig ihe Incident, Yransacéan commmissiored an inlemal ivestigation sam porns ed of experts from
relevant technical. 4 alds and specialists in accident Investigation ta 4 gather, review, and analyze the fasts, and
inferraation surrounding ina incident to determing ils causes.

The investigation team bagan its: canon in the days inimadiately following the incident. Through an extensive
investigation, the tearn interviewed Withedees, reviewed avaliable informailon regarding well design and
BXeCution, OXerH inéd well monitoring data that nad beer transiitied in real-time from the fig io BP and which
had been aval lable to GP's operaling pariners and Haliburton, consulted industry aid technical experts, and.
avaluated available physical evidence 2 and thitd-perty testing reporis.

The loss of evidence with the rig and the. unavall 1a ity al certain witnesses 2 limited the Investigation ard analysis
in Some-areas. The teara used its cumulative years of experience but ‘did not speculate in the absence caf
evidence, This report does not fapresent ihe | ieqyal POSilOr af Trans note ah, fOr does il attainptie aasign legal
responsibility or fault. mo
This reporl focuses on the ioflowing citical questions:
« How did reservoir figids yeah the rig tear?
» How and why did reservoir fuids anter ihe well?
What actions did the dri crew take?
» (Why-did the blowoul praveniar (BOP) nat stop the How of reservalr Guide’?
+ ‘Now did reservoly fluids ignite?
* What occurs! afler ine resarvelr Guide reaghed iia Aa?
» Howdlid personnel onboard evacuate the fig?

This raodr is he Guirsination of ihe investigalicn. These. conclusions are ihe result of ihe invastigaiion team's
arsitvaia of information avaiteble to tate. The ivesiiuelion leam is aware of invesiigahons, conducied by other

companies and js aware of, but dig not review, additional les imeny that is being developed in muliiarint
igatian proceedings. ,

The data rolled upon by the irivestigation team is klentified In foatnales, endnotes, and the appendices fo ihis
repore, :

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aculive Summary

werview of Findings

he Maconde incident was the resuil ofa succession of interréieied well design, consiruction, and tenmporary
patidonment decisions thal compromised ihe integrity ofthe wall and compounded the risk oF its failure, The
acisions, many mate py ihe operator, Br in the bags wears leading up by the Incident, were. driven by ‘BP's
jowledge that the geological window for safe. ‘itiling was bacoming| increasingly narrow. Specifically, OP wee
jicermed inal downhole oe whether sxerted hy heavy drilling mud uaed to maintain well corttol or
¥ Burnping cementio seal theavell voile exceed the fracture gradient and resull indosses.te the formation.
file. these and other contributing. factors wings cormplex, Ihe Transocean investigation team traned them. to
fir overarching issues! -

igk Management and Communication

Funes responsible for developing detailed plans as to where and how the Maconde weil was to oe drilled, eased,
ainanted, and completes, and fol Halhing approval af these Plans irom the Minerals p Management Seivien
AMS). tb retained fill authority: 0
renedures, indudisg approval S

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‘needires. used ta conti Te the inte iy anne ab bariers intended ae inh tine flow af hydrocarbons. itis the view
Pee investigation ieann Heaton Ann 20, 2019, the actions of the dill crew relected | iis understanding thatthe
all nad bean proparly eornented atid sucresshil y teat,

jell Design and Construction

Necorecibitiling cause of he Mimeondy incident was thet jaiture of he dewnhole cement io isolate ihe taservol,
Hash alsedt hydrocarbons iA enter the: well iibore.

6 Original weil pian called for: ise of a tong-siying production. casing, While drilling the Maconde well, BP
rated. both lost cireulation everits and kicks and stopped shoiiof its planned total depth because ofan
isreasingly narrow margin beiween: the: pore Gressure and fracture gradients, In the context of these delicate
andiions, cementing a long-siing casing further Increased the risk of exceading ihe fracture gradient. Rather
vay adjusting the production gueine. design, BP adonied 2 technically complex nirogen foan: cement program.
he resulting cement program was ol Mit nimal quantity, lefl tle margin. dor error, and was no! tested adequately
siore or after ihe cementing operation. Further, the imegrty ofthe cement. may have baen compromised by
sntardination, instabllily, and an inadecuaie number of devices used to cenier the casing in the wellbore.

isk Assessment and Process Gefety

aeed on the evidence, heiivestigalion team delerrained that dwing various operations at Maconds, SP tated
i properly require or coniim arilical bement tests or conduct a: deqpiaia risk assessrnents,

alliburion and BP did not adequbiely test ine cement Slurry and program despite ine inherent complexity,
ificuitios, and risks associated with the design and implemeniation ofihe program and some test data snowing
iatthe cement would not be stable,

P also failed to assess the risk of the temporary abandonment procedure used at Macordio. GP generated
( least five diferent temporaly abandonment plans for the Maconde well between April 12, 2010, and Apri
0, 2040. After this series of lagtuninuie alterations, BP oroceaded with a temporary abandonment plan that
treated risk and did not have the required approval hy the MMS. Niost significantly. the final plan called fora
ubsiantial and unnecessary displagement of drilling mud, thus underbatancing the well before selling a second
urate cement plug and condugting-a negative pressure test.

does not appear that BP used risk assessment procedures or prepared Management of Change documents
wf these cecisions, or cthenviee addrassed ‘hase yiska and the potential adverse effects on personnel aril
rocass safety.

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Chapter 2 The Macondo Prospect and the Deepwaier Horizon 1S

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and the De EW vater Horizon |

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in Maran 2008, ‘ER Explorat jon & Prochiction | ne. 0 (BP) ibasedtl the Missi pol Canyon BI toa he (MOZ52 Yio! alt

and gas axipiorati onand designated it ie Mac o Prospect. BP subsequently sock interests j in the prospect te

Anadarko (25%) and MGEX (10%) bul remains e Operator and apority OWTTEE (60 Ay BN eperator,& ae. Was
rasponsible forall aspects art he Mesign aad development oF the Mac conde well,

BPs, origina Appitalion for “ee itte OHH a was ou ited ip ihe Ne inatals inagemet it Service: {RiNS) ae ‘May

a. ay Re, 2000-7. Nie plan spacified using ihe Trarisetean Mariaias to drill a wall
giana, southeast of Ne aw Orleans, in 4.902 feel (5 of water The total depth
inten ee 20.200 oo

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conga a dil ng peas: Scuure sd, ine opetatord des signsthie vit nm ace scortaice ith the qao joijieal ¢ i conditions ofthe
i ; Bh all easing, cement,
and sreventing ifs

value.

THe: “oper alot then selects and manages various coniraclors to perioin specific prde cedures sieh as tilting,
cementitid, well inomtionng, vaste support servites, ahd other wellelaied lasks. The oneraior has 2 final
authority arc responsibilty io dake décislane thous ughout We dadion, cementing, t sting, and final temporary
abarriar ment phases of drilfing ine well, ,

Al Macondo, BP began exh joration of Oct, 8, 2009, si ng the 7 sooner Marlanas vig.) On Now. 3, 2009,
Huwricahe ida ceinaged the Maranas, and diling on Maconde was aganded fol lowing thé inglallation and
cementing of the well casing. The Marianas was ‘demabiized toa shipyar 1rd for repairs and BF appl ied to The
MMS for perrnisgien io use the Transdbean Deepwater Horizon rig ic: CORTUE ‘diiling. MMS ‘appr rove thie
change on Jan, M4, S010.

‘The vrs onsite ‘of ie bperater aiid examples of leks assigned ta Ils respactive contractors are
sumimarized bee coe uo oe OO

Operator Responsibi

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* onde dec jogical and gaophysioal surveys ‘af ihe Drnapect

> Anal Wze proprietary sea and Ganptiveical dala wher design ing the well to specily tae lype and
strength of aasing, cement, centralizers, reamers, shock absorbers, well head, ¢ and other equipraent
and rhateriaig used: 5 intel iiein well iitegeiiy

» Pasign ahd submita detail d alan to MMS now the Gureau of Oseats Endray, Manageraent, Regulation
and Enferceraent (SCEMRE), specifying where and how ihe well iste te dillied, cased, camented. and
conpieled -

* Serve as general confractor and hire vavious specialiste to work on 8g lease and perform specific
functions inthe construction of he weil, and deck contactors with respactio heir areas of respansibiliy

« Retain jul audherily over deilfing pperations, Sasing 3 and cementing py FOCREBES, and jomporary
abardonnient testing and Brosedurss (quality assurance a Ch uaa iy dortral of wall

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« Aperave all work ta be performed by sélitrathoieleibocontractord

*  Agsistivith overall safely on ihe rig

* Advise and consul witht various rig owner personnel on key decisions ih hel lightened: “TES K situations
» Oefernsing and iriplement aparopHiate well- control sracedhires |

» ‘Contain the well ard address any polludion froin the wel

percentages if lease nurnver GAIRO8 for C282 a the dime of the incident,

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BP'S contractors for ihe Maconde well inehudert:

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PHadliburton

BP contacted Hal tiburton to provide spacial ied bomenting garyices and expertise. and te support the BP teams
both. onghore ¢ and on the Oecowater Horizon. Atine firme: of the incident, nay Hal Himurhars com renting: speckalisis
were anbeatd the Deapwater Horizon, ,

Sperry Sun

oP cortigets d Spery Sun to install a sophisticated well Mioriltoting ¢ yete vo on the Dew epwator Horkzen. ‘Spany
deployed fained personnal, or mud loggers, to monitdr the sys fain, interpret tne data i generated, ani detect
influxes of hyd lrocarbons, of Kicks. at the d Unore ob tne incident, thera were twa S mney Sun mud loggers: onboard
itie Deenwaller Marizan.

M+} SWACG

BE contracted Mel SWIACO to provide apaciat feed dillting ri d engine: fing sarvioas on the Deepwalar
Horton, which Inckided mud material, equipment, and personneh, At the time of the incident, there were live
M4 SWACO persoriiel onboard | ihe Deepwater Horzon, | including two who: tespt Their livers,

Sohhuiniberger

Deepwater ir
OnreT were:

a? cofiracted Sehumbarger io provide speciniized wall and cement jogging services on the
Horan, which included equipment and personrel. Abihe fine ar ine neler, no Scilumbers Ger pe
anboard the 2 eapwaler Horizon.

Weatherford

SP contracted Weatherford-to srovide casing accessories, including centaligers, the foal caller, and nee site
tracicon the Deapwater Horizon. Weal nerford also orovicied specialist Pers orinel io advise RD aid the drill crew

on the installation aind operation of their equipment Atihe Eme ofthe incident, ay Weatharto! st personnal a were
anboard the Dennwaler Horizon. .

Tidewater Marine

8P contracted Tidewater Marine lo provide ihe afishore supply yassel the Damen &. Bankston. The Bankston
saried supplies (Such as ih Ag equipment, dling cheraicals, Yood, fuel of, and water 4 ‘and from ihe
Deepwater Horizon. At the time of the incident, dhe Sanksion was alongside | the Deepwater Horizon and
proldded ermargency assistance. : , ,

other personnel anboard the Deopwaler Horzer included V4 cat bering atel, bvo BP exeduives, and 14 8
uboontiactors fora total of 126 personnel onbaart,

SEPOe eet
Case 2:10-md-02179-CJB-DPC Document 3788-2 Filed 08/22/11 Page 12 of 16

ater 4 ay Findings

his suminariges the key findings ofthe investigation team based on tts extensive review of available information
sagerning the Macendo wall incident.

8 operator of the Maconda well, BP directed all aspects of its development, it chose the drifiing location,
signed ihe ari ling prograr that included al Operational procedures, set the target well depth, and created the
mporary abandonment procedure for. securing ihe weil-before departure of the drilling rig.

a-drilling depths increased at wlaconds, theowindow for safe drilling belween ihe fracture grvient and the
de praseure gradient became increasingly narrow, Maintaining the. appropriate equivalent cirowlating ‘density
SCD} ean: “difficult, and BE. experienced several Kicke and losses of Tuid to the formation. BP's knowledge

“tte nanowing window for sale ‘Sperations: guided key decisions during ihe inal stage of operdtians. BP's
iehiges from the original well plat in the final phase incladed:

* ecucing ihe target dent of ihe ae

» <Gansidering changes to ihe weil casing

» (Using « lower clrouleting rate then tie parameters apecified to convert ihe foat collar
+ enucing coment density with nitrogen foam

« Using o lesser quantity of cement than that spedified in 8 procedures

+ Deciing net to perform a homplete hettenis-up clreviatien before cementing

hough aimed at protecting the formation and allowing operations to gantinue toward completion of the wel,
ese decisions sel ihe stage for ine well coriiral innident.

27 Running Production. Casi ing

PSb0SS-a longsting aroduation: casing design that required ie developrient of a mininal and
chy deally complex cement progran te avoid damaging the formation during cementing, legnlrag: Hie
‘argin for orror within nenval field acearecy, BP and Halliburton then incrameed the risk by Milling te
januately teat te cementpragram, ~

ae investigation conned thal ihe. Qparaions lorg-siing casing design mel the loading conditions that were
@erlenced prior to and during ihe.wel-oontrol incident, The use of this design, however, drove other plan
sparturas that ukimately increased tisk and contributed tothe Incident. Primarily, cementing the casing required
complex, ernall-volume, foamed cement program tp prevent overpregsuring the formation, The ofan allowed
tle voor for normal field margin. oF error, required! exact calculation of anwar value and orecise evecuiion
order ty produce an effective barrier In the reservelrs.

1@ Gpersior had olher abantenment-alteriatives. BP could Rave either installed « Iner and He-beck of
“erred the casing installation unt! the Aiture corpietion operations began, Eldver approach wouk! have
aned additional andlor different garters in the weil priar to the nagalive pressure fest and displacerent.
eferting installation until future completion operations would have allawad additional time for detailed planning
id verification of the design.

2& Converting the Moat Collar

P alwiabed significantly rian Ee pia te convert the feat aoliy, but procesvied despite observations
Fanomaties. The investigation team found it possible that the Hoat-oollar did not convert and thus leit
tisar path for hydrocarbons to flew from the formations to tha Hq.

*’s planned procedure to conyert the float collar called for slowly increasing fluid circulation rates ta S-8 barrels
sw minute (hpi) and to generale pressure of 900-700 03) at the float, consistent with the float manufactures
iidalines. However, because of the Increasingly narrow window to aveld fracturing the formation, BP deviated
att is planned conversian prosadure.

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Case 2:10-md-02179-CJB-DPC Document 3788-2 Filed 08/22/11 Page 13 of 16:

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convert, ihe cement proges

4.3 Gamenting

The greciniisiing cxuse of the Macands mctaorst was ihe Tally
across the greducing formations. This fated barrier allowed | hydrocarbon | te ‘howe into >the veil.

The cermin felled a ai bar of tect starred fon BPs EC § tert

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of fie canienh Heels cement contamination diving the aneration, and inadequate esting of the © center fige t
had been Guiped. mo

Coninlesty of Caen! Job

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Camaat Progr 4

Deapite the herent fake of carnenting ihe long: sing production cus ig ivi ae conditions at Maconide, BP did

not carry out a nurnber of cilfical testife.g. july if compatibility with dviiling Huvicd)
before or aiter pumping the cernent, Roat-| readend te <n by bats os st Gl Techaolagies and Chevron denicnstraied
that the nilrivied cement slurry used af Manorda likely ipiled.

Germbent Cone nunaion

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1G circailation | would baie TaGuneG
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PastCenent Program Neyiiw

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Testing of the
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Case 2:10-md-02179-CJB-DPC Document 3788-2 Filed 08/22/11 Page 14 of 16
Ghapter 4 Key Findings

4.4 Temporary Abandonment Procedure

BP's final temporary abandonment plan contained unnecessary risks that were not subjected to formal
risk analysis.

BP engineers generated at least five different temporary abandonment plans for the Macondo well between Apri
42 and April 20, 2070. The plans varied considerably, as did the level of risk they intraduced. The abandonment
procedure ultimately implemented at Macondo never received the required MMS approval. Further, it was
not developed and delivered to the Deepwater Horizon until the morning of April 20, 20710, after the rig had
commenced ternporary abandonment operations. The investigation team found no evidence that BP personnel
on the rig or onshore subjected any of the successive temporary abandonment plans or changes to a formal
risk assessment process.

The safest of the five versions (that dated April 14) proviced that the surface cernent plug be set in mud rather
than seawater and that a negative pressure test be conducted before the drilling mud was displaced with
seawater, The plan that was finally implemented lacked beth of these features.

The most significant deficiency in the final plan was the curnulative lack of barriers to flow. The final pian
required displacing the drilling mud to a depth of 8.367 ff. (approximately 3,200 ft. below the mudline), which
was much greater than the normal displacement depth of between zero and 1,000 f below the mudiine. In
addition, the plan removed the mud before testing the cement barrier with a negative pressure test and before
setting the surface cement plug. As a result, no secondary cement barrier was in place during the negative
pressure test and displacement.

4.8 Displacement

The inilal displacement was planned incorrectly, and the execution did not meet the objective of
allowing for a valid negative pressure test.

The final temporary abandonment plan required displacing the casing annulus below the annular blowout
preventer (BOP) with seawater to achieve the desired negative pressure fest conditions. However, post-incident
analysis determined that this objective was not achieved because of calculation errors in the final displacement
procedure, lower pump efficiencies which may have been caused by the unconventional spacer materials,
potential downhole losses, and the movement of spacer below the closed annular. These factors resulted in a
large volume of spacer in the annulus during the negative pressure tes{ that went unidentified due to inadequate
fluid volume tracking and jack of procedures to identify the appropriate pressure readings for a satisfactory
intial test configuration,

With heavy spacer in the annulus below the closed annular BOP, a valid negative pressure test could not be
achieved by monitoring the kill line, which was the method BP decided to use.

4.6 Negative Pressure Test

The results of the negative pressure test were misinterpreted. After the test, BP decided to proceed with
the final displacement.

A negative pressure test is necessary to confirm that the cement will block flew from the reservoir into the
well after mud is replaced with seawater. There is no established industry standard or MMS procedure for
performing a negative pressure test, and procedures vary from well to well. At Macondo, BP was responsible
for overseeing the test and determining if the test was successful.

Postincident analyses confirmed thet the test failed. Anomalous pressure observed on the arili sipe during ihe
test should have alerted all of hose monitoring the well to the fact that the cement barrier wes not effective, fhal
pressure was being transmitted past the cement and float equipment, and that the well was in communication
with the farmations.

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Chapter 4 Key Findings 215

Central to the misinterpreiation of the test fesulis was BP's decision to tonitor the kill fine instead of the trill
pipe when conducting the test Had the diil crew sconthiued monitoring flow from the drill pipe, as they had
baen doing previously, those inonitoring the well would have detected flow Indieating that lhe wel was in
communication wih te formation.

4.7 sheen Test and Final Disp slacemer i

Postincident analysis indicated a change in flow path “Horn ‘the. well waving the ‘Hival displacement :
washed influxes ito the wellbore.

Following its approyal of the negative pressure test, we divectedl the ari {crew to proceed with 4 disph laging the
fiserwith seawater and, when the spacer was 2 expeciad at the Su rtace, to sion ober alors 1Gt & sheen Hest.

Reptaning ihe heavier: drilling mud with lighieieealg i seawater during Gnal disslacenient et minated the
re ernaining fydeoatatic batiler to flow, leavirid the. jnadé quate cemant barley at the ‘botlom of the well ag the
printary Garret, According ta postingident calculations, the well Lonarne £ iderbalanced to one of more of the
exposed formations someting 2 hebween a8 Pm and B52: REEL, but there Was no clear indication of an intlux
at thal time. ,

“ before the Aumps were abut dow for the sheen jest, the vip tani wie < ruped into [he fhowtine ts serid
i-based mud back to the mud pits, Based on vostincident analysis, the resulting increase aT flow from te: trip
tai aoross the: flow sensors asked an fag, iho the wall

More than ‘ane | individual tary thie ng. tnd cated the well AER nial Tow ing When the awd pumps WETE s Ghul down
for the sheén test, Iils possible that no flow was seel because the flaw path: ad been changed ta overboard
io dispose. of ihe spacer before-the visual confirmations. Posh, incident data: analysis shows that hyd lrosayboné
flawed into- ihe we il during ihe sheen fest pul the overboard discharge: may have masked ie flow. -

Although the complianeé engineer canctudlad aid reported that ihe sheen te: et awa successful, postincident
analysis indicaies that the spacer had not reached the surface at the tine the test was conducted, This report
gave the or Her an erronepus caniiinal ion that the Hisplacement WAS OF, ‘ete le when, | fat, ibwas, not.

Purp operations following the sheen test masked an underlying wend at ingréasing pressure which resi lew
from art influx: ilo the well, Hig nét Known what ddta the drill créw was monitoring or why they did not deiect’
an anomaly undl anproxinmatal y aa pun. Al thal tine, the drill crew acted Upon 2 differential pressura anomaly
between the kil Hine: and drill pipa. Actions taken PRnGaE hahaviors nOneistant with a belie? that the wall was
senuve anda} alg Ox sisted in the well At 9:42 p.m., tre nressure frend provided a conventional influx indicatian
with 2 dred incpressure, At that time a low check was gorpleted on the trip tank arid well conti) action followed.

4. Activation of the BOP
The BOP functioned and clesed but was quercome by well conditions.

The Deepwater Horizon BOP and decteo-hydiraulic/multipies (MUX, j control systein were july opsraiianal at
te time. of the incident, and the equlprnent funciidned. Thé equipment was maintained in accordance with
‘Transocean requirements, anid all modifiadiions inat ned been made te the BOP sither mainiained or inprdved
the perlormarice of the device. Minor leaks identified previncident did nat adyarsel iy affect tre functionality of the
BOP for wall corirot, :

Upon detect iesep low, tive drill crew ehut ir the wall by ti 5 closing ihe upper annular BOP: (2) closing The diverter
packer and diverting ihe How to) the rudy ag separator, and, dlosi ing the upperand midde VBRs, which:
initially sealed the well,

However, becausé of the High flow rate of hydrocarbons: fran: the wal the annular BOP efement did rot séal
and the concentrated fow eroded the drill pipe just above the annular The closing of the VBRs isolated the
annidar space and iemporarily stopped the influx, beat increased PTESSHTS inside the dri pipe oti 1. rupture ¢ at

a
“ Treeneeor

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Shavter 4 Key Findings

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the point of erosion above ihe upper annular. The ruptured drill pipe allowed Aysrocarbons to again flow into the
figer, When the Despwater Horizon jost power and drifted off Iscation, the aril pipe parted fully.

The explosions and fire disabled the communication link between the BOP and the sig, preventing activation of
ine BOP. grnerdency disconnect! system (508) fram the tnolpusher. contrel panel.

The automatic mode function (AMP) operated as designed to close the blind shearrams: fall owing tie explosion.
However, high pressure bowed the drill pipe partially outside of ie BSR 6 ears blades, tapping it between
ihe rani. block ks and praventing the BSR's irom completely shearing ae pipe, fully sosing, and sealing the.well.

4. Niusier and Evacuation

All persommelwhe survived ths. explosions made ihe aun way or weeyo musicind to the forvara Heboat
muster gistion and succemshily evacuansd the vig. Despite dis obstacles: wl chatlenges, Ue muster
and svanuation plane and training faciilated the evacuation ofall We survivors,

The Macondo Wedent crested exiremely challenging condions foreveryone : sobre. The explosions and tire
happened in the evening when many of-lour crew ware aalaep rin ih is. The binsl dariage bidoked
Some normal muster points, Some crew were injured and could nie avea ate sthout assistance. appears
hist anwier the sitess of the amergenoy, Tour persons evacuaiad ieciependently: rather than pursuant to the
procedures irowhieh they were trained.

Hegpite these obstacles and challenges, the muster and evacuation slang and Waining facilitaled ihe evacuation
ofall 945 survivors fo the Damon 8. Bankston supply vessel nearby. One hundred people evacuated in the
forward lifeboats, saven evacuated in one of the forward He raits, end eight jumped from ine forward end ofthe
rig inta the oeean and were recovered by the Banksion fast rescue ereit (FRO). After the suraivors qgacied ine
Bankston, the 17 most seriously injurad survivors were airlified by USCS hellcoplers: ip hospliais for treatment.

in: addition fo the heroky actions. of many of the crew, aasistence iron) dhe crew éfthe Banksion wae critical in
ihe eyacuation and rescum ear,

Bh
Vonisncear
